                       Case 08-13141-BLS               Doc 8446-2          Filed 03/21/11          Page 1 of 1

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